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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                 v.                                   )   No. 08 CR 777-11
                                                      )
AARON WILLIAMS                                        )   HONORABLE DAVID H. COAR


                             MEMORANDUM OPINION AND ORDER


       Aaron Williams is one of eleven codefendants in this drug-trafficking case. He is

charged with one count of possession with intent to distribute 500 grams or more of a substance

containing cocaine. See 21 U.S.C. § 841(a)(1). Chicago police officers seized a kilogram of

cocaine from Williams and codefendant Ennis Howard’s vehicle during a traffic stop on July 16,

2008, and Williams moved to suppress the cocaine as the fruit of an illegal search.

       Williams’s motion is in an unusual procedural posture. In its response to the motion, the

government advanced two arguments: first, the officers developed probable cause to search the

vehicle during the traffic stop; second, the search was justified on the basis of probable cause

known to DEA (at whose request the officers acted) by virtue of an ongoing wiretap

investigation and surveillance of Williams and Howard shortly before the traffic stop. The court

conducted an evidentiary hearing on Williams’s motion on July 31, 2009, at which the

government focused entirely on the traffic stop. Williams submitted the first post-hearing

memorandum, in which he naturally focused on the evidence brought forth at the hearing. The

government then reiterated its wiretap-and-surveillance argument in its post-hearing response;

thus, it has advanced this argument only in responsive briefing, and Williams has not had an

opportunity to address it.




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       Accordingly, the court grants Williams leave to address the government’s argument that

the officers had probable cause to search the vehicle based on DEA’s wiretap investigation and

surveillance. Williams shall file his written memorandum within 10 days, and the government

shall have 7 days to respond.

       In the present memorandum opinion and order, the court resolves the issues that were

raised at the evidentiary hearing. The court finds that Officer Simon’s account of the traffic stop

was not credible and that the officers did not have probable cause for the search based on a

seatbelt violation and subsequent sighting of marijuana in plain view. A final ruling on the

motion to suppress will issue after due consideration of the merits of the government’s wiretap-

and-surveillance argument.

                                              FACTS

       On July 16, 2008, Aaron Williams and codefendant Ennis Howard were arrested by

Officers Joseph Simon and Slawomir Plewa of the Chicago Police Department. The arrest

reports indicate that the officers “received information from a confidential source” that Williams

and Howard’s vehicle, a silver Chevy Suburban with Wisconsin plates, was seen departing from

a narcotics transaction. The reports further indicate that the officers curbed the vehicle for

“minor traffic violations” and that during the traffic stop, Officers Simon and Plewa observed a

“loose green leaf like substance” on the center console and “two cigar like objects in the ashtray

rolled up.” Suspecting marijuana, the officers ordered Williams and Howard out of the vehicle

and detained them. Officer Anderson arrived on the scene and recovered the suspected cannabis

from the vehicle. Williams was then arrested, mirandized, and searched; two small bags of a

“green leaf like substance” were discovered in his front left pants pocket. Following the arrest,

the officers searched the vehicle and found a New Balance shoe box containing a “white powder




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like substance” in the center of the rear seat.

       Williams was cited by Officers Simon and Plewa for possession of cocaine and cannabis,

and for failure to wear a seat belt. All state charges were subsequently dropped, and Williams

was charged in the present case.

       Three witnesses testified at the suppression hearing: Officer Daniel Gutierrez, Officer

Joseph Simon, and Defendant Aaron Williams.

                                   Officer Gutierrez’s Testimony

       Officer Gutierrez is a Chicago police officer who was assigned to the DEA Task Force at

the time of Williams’s arrest. He testified that in 2007-08, DEA was investigating an alleged

drug-trafficking organization involving Filiberto Hinojosa and other codefendants in this case.

Pursuant to a Title III warrant, DEA wiretapped various telephones used by Hinojosa and others.

Officer Gutierrez testified that, based on telephone calls intercepted on July 15 and 16, 2008,

DEA agents believed that a narcotics transaction would take place at Hinojosa’s alleged stash

house on the 2700 block of North Monitor St., on July 16, 2008—but Officer Gutierrez never

listened to any of the intercepted calls on which DEA’s belief was based.

       On the morning of July 16, 2008, Officer Gutierrez met with Officer Simon and other

CPD officers to apprise them of a possible narcotics transaction at the North Monitor location.

He asked the CPD officers to set up surveillance near the North Monitor location, wait for a

description of the vehicle that departed following the presumed transaction, follow the vehicle,

and find a reason to stop and search the vehicle and its passengers. Officer Gutierrez never

instructed the officers on the details of DEA’s alleged probable cause, and the ostensible reason

for the stop would be left entirely to their discretion. DEA had a tactical reason for asking the

CPD to initiate a traffic stop and subsequent search on the basis of whatever independent




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probable cause they could “develop” on their own: DEA did not want to disclose that the source

of its information was an ongoing wiretap.

       Officer Gutierrez further testified that he was on surveillance near the North Monitor

location on July 16, 2008. He saw a large silver or gold Chevy SUV with Wisconsin plates pull

into the back alley. He heard, via radio communications from other agents, that two African

American males exited the SUV, entered the house, returned to the SUV, and drove away.

Officer Gutierrez repositioned himself to see the vehicle as it was leaving, informed Officer

Simon of its direction by phone, followed the SUV until he saw the CPD officers make the stop,

and drove by without participating in the stop.

                                   Officer Simon’s Testimony

       Officer Simon also testified that on the morning of July 16, 2008, he and other CPD

officers met with Officer Gutierrez. Officer Gutierrez told them that DEA believed a transaction

involving a “substantial amount” of narcotics might take place later that day at the North

Monitor location. He asked the officers to go to the area of Diversey and Monitor and wait for

further information regarding a vehicle they were to follow. Officer Gutierrez told them they

would need to develop their own probable cause to stop and search the vehicle, since they would

not be able to use any probable cause DEA might have had for “reporting purposes.”

       Officer Simon and his partner, Officer Plewa, identified the SUV from the information

Officer Gutierrez relayed to them. They followed the SUV in an unmarked detective’s car (a

Crown Victoria); Officer Plewa drove and Officer Simon rode in the passenger seat. At first,

they followed directly behind the SUV but did not observe the driver commit any traffic

violations. And nothing about the vehicle itself provided grounds for a stop. So, while the SUV

was headed east on Diversey, near Laramie, the officers pulled up along the passenger side to




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observe the occupants; Officer Simon could not recall whether the windows of the SUV were up

or down at the time. From his vantage point, Officer Simon could observe the passenger in the

SUV, but he could only see a “profile” of the driver. In particular, Officer Simon could not

determine whether the driver was wearing a seatbelt. Officer Simon testified that he did not

believe that the passenger—later identified as Howard—was wearing a seatbelt, since he could

not see a shoulder harness secured across the passenger’s torso. He also testified that Officer

Plewa did not believe the driver—later identified as Williams—was wearing a seatbelt. The

officers did not stop the SUV at that point because Diversey was too congested, so they fell back

and continued to follow behind the SUV as it headed east on Diversey and then north on Cicero.

       The officers eventually stopped the vehicle near Cicero and Roscoe. Officer Simon

approached the passenger side and Officer Plewa approached the driver side. Officer Simon

testified that he and Officer Plewa both observed what they believed to be “residue” or “crumbs”

of marijuana on the center console of the SUV, as well as two “cigar-like objects” that were

“sticking out of the ashtray,” which they believed to be consistent with marijuana use. On cross

examination, Officer Simon was not sure whether the windows were up or down when he looked

into the car and observed the “crumbs” and “cigar-like objects.”

       After finding what they believed to be marijuana in plain sight, the officers ordered

Williams and Howard to exit the vehicle. By that time, another police car had pulled up and

Officers Zambrano and Anderson had arrived on the scene. One of them found two bags of

marijuana on the driver (i.e., Williams). Officer Simon walked Howard back to the Crown

Victoria and Officer Plewa walked Williams back to one of the police cars. While Williams and

Howard were detained in the officers’ car(s), Officer Simon and some of the other officers

searched the vehicle. In the back seat, they found a New Balance shoebox that contained a




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“taped up brick like object.” Subsequent laboratory testing confirmed that it was cocaine.

        On cross examination, Officer Simon testified that he was aware, at the time of the stop,

of Section 12-603.1(a) of the Illinois Vehicle Code, which prohibits an officer from searching or

inspecting a vehicle, its contents, the driver, or a passenger when executing a traffic stop solely

for failure to wear a seat belt.

                                   Aaron Williams’s Testimony

        Aaron Williams testified that he came to Chicago with Ennis Howard in Howard’s SUV.

Initially, Howard drove, but Williams took over the driving after they left the North Monitor

location. Williams testified that they both wore their seatbelts the entire time they were in the

vehicle. He did not notice Officers Simon and Plewa pull up next to them on Diversey, and he

pulled over as soon as he noticed the lights flashing on a blue Crown Victoria behind him on

Cicero. The windows in his vehicle were down; the officers approached and asked for his

driver’s license and insurance card. Williams handed his license to one of the officers, who

immediately pulled him out of the vehicle, searched him, and detained him in the back of a

police car (Howard was detained in a different police car) while the officers searched the vehicle.

He was never asked to consent to the search of his person or the vehicle.

        Williams testified that there were no “crumbs” or any other marijuana on the center

console. There were two unsmoked marijuana cigars in the ashtray; the ashtray was closed, and

the cigars were not sticking out or in any other way visible. Williams testified that he had closed

the ashtray as soon as he realized he was being pulled over. He also admitted that he had two

bags of marijuana in his pocket, which the officers discovered when searching his person.

        On cross examination, Williams testified that he was aware the government intended to

seek enhanced penalties because of his prior drug conviction.




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                                            ANALYSIS

                                    Credibility Determinations

       In Illinois, drivers and (most) passengers of motor vehicles must wear seatbelts. See 625

ILCS 5/12-603.1(a). Those who don’t risk being pulled over by the police and cited for a petty

offense. See id. at § 603.1(c). But a police officer “may not search or inspect a motor vehicle,

its contents, the driver or a passenger solely because of” a driver or passenger’s failure to wear a

seat belt. Id. at § 603.1(f); 725 ILCS 5/108-1(3) (same); accord Knowles v. Iowa, 525 U.S. 113

(1998) (Fourth Amendment prohibits search of vehicle incident to traffic citation; pat down of

occupant incident to citation permitted only upon reasonable suspicion occupant is armed and

dangerous). So when a police officer effects a traffic stop on the basis of a seatbelt violation and

ends up searching the vehicle, its passengers, and its parcels, the officer needs to point to some

intervening event or observation that establishes enough probable cause—or reasonable

suspicion, as the case may be—to justify whatever search was performed.

       Officer Simon knew this to be the case when he curbed Williams for a seatbelt violation.

In light of this, and having observed his testimony at the suppression hearing, the court does not

find Officer Simon’s account of the traffic stop to be credible.

       Officer Simon’s professed strategy for effecting the desired search and arrest makes little

sense. According to his testimony, he approached the vehicle knowing that he lacked his own

probable cause, even assuming Williams and Howard were not wearing their seat belts. He

therefore approached the vehicle knowing that he would have to find something in plain view to

justify a further search of the vehicle or its passengers. Thus, on his own account, Officer Simon

enlisted luck to deliver the probable cause he needed but lacked—and luck of course came

through for him. But to accept this account, the court would have to accept that Officer Simon




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was prepared to let Williams and Howard be on their way with only a traffic citation—no search,

no arrest—in the event that no contraband or weapons could be found in plain view. That would

have been remarkable, since the whole point of the traffic stop was to arrest Williams and

Howard. Simply put, Officer Simon was going to stop Williams and Howard one way or

another, whether they committed any minor traffic violations or not; that, indeed, was his

assignment. His explanation for why he stopped Williams and Howard, therefore, cannot be

fully candid, and either seatbelt infractions were not the basis for the stop or Williams and

Howard were wearing their seatbelts after all. It makes no difference which is in fact the case;

the point is that Officer Simon was not candid and his testimony was not believable.

       Officer Simon’s account of the traffic stop would have been far more credible had he

acknowledged the simple truth that he was going to stop Williams and Howard one way or

another. Instead of candor, however, Officer Simon relied entirely on the seatbelt-violation

rationale for the traffic stop and a less-than-straightforward story about what each officer

believed and observed to back it up. The problem with being candid in this context is, of course,

that Officer Simon needed to provide some basis for the stop without falling back on the

probable cause he presumed DEA to have. But the fact that he was in a bind in no way bolsters

the credibility of his account; on the contrary, it underscores his strong incentives to tell a story

like the one he told—whether or not it was true.

       Most importantly, these failures of credibility vitiate the crucial element of Officer

Simon’s account: that, as luck would have it, the officers immediately noticed marijuana in two

plain-view locations in the SUV, Williams and Howard apparently having made no attempt to

close the ashtray or sweep away the “crumbs” before the officers arrived at their vehicle. Now,

Williams and Howard may have been fatally careless or too stoned to react sensibly, for all the




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court knows. But there was no testimony or mention in the police reports of any signs of

intoxication, and such explanations would in any event be far easier to credit if Officer Simon’s

earlier testimony had been believable. Williams, for his part, does not deny that he had two

small bags of marijuana in his pocket and two unsmoked joints in the ashtray; he does not

attempt to argue that evidence was planted. He claims only that he closed the ashtray before the

officers arrived at the vehicle and that he didn’t just leave marijuana sitting around, in plain

view, for two approaching officers to see—while he had a kilogram of cocaine in the back seat.

       Considering all the factors that bear on the credibility of Officer Simon’s testimony—his

manner of testifying; his incentives to tell a story like the one he told, which otherwise makes

little sense; his objective of searching and arresting Williams and Howard on whatever grounds

he could muster; and, as he would have it, his confident reliance on sheer luck to achieve that

objective—the court cannot credit the essential lynchpin of his story, his wholly fortuitous

discovery of marijuana in plain view. In the circumstances of this case, it is far more plausible

that the officers found the marijuana while performing the search they were out to perform, one

way or another.

                                     Probable Cause Analysis

       Officer Simon and Plewa’s traffic stop was nothing if not pretextual. The officers acted,

ultimately, on probable cause they presumed DEA to have; their task, in large measure, was to

help preserve the secrecy of the information on which it was allegedly based by “developing”

probable cause of their own. This case illustrates the problems that arise when police officers try

to paper over the underlying reasons for their actions. But pretext is one thing and probable

cause is another; that is the central teaching of Whren v. United States, 517 U.S. 806 (1996). The

question, as far as the Fourth Amendment is concerned, is whether there was an objective




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rationale for a search or seizure, not whether an officer acted from ulterior motives or on the

basis of pretextual reasons. The latter inquiry may of course yield relevant facts against which to

judge the credibility of an officer’s testimony—and in this case it has, to Williams’s advantage.

But Williams is not entitled to the suppression of evidence simply because the court does not

believe Officer Simon’s account of the traffic stop. See, e.g., United States v. Cervantes, 19 F.3d

1151, 1154 (7th Cir. 1994) (“The exclusionary rule is intended to protect the privacy and

property rights of the citizen, rather than to punish law enforcement officers for trickery, deceit,

or even telling lies under oath.”). The court must determine whether officers nevertheless had an

objective rationale for the search that yielded the cocaine Williams seeks to suppress.

       Williams concedes that the lawful discovery of marijuana in his pocket would justify the

vehicle search that yielded the cocaine. He would be arrested upon that discovery, and it would

be reasonable for the officers to believe that a search of the vehicle, including the New Balance

shoebox in the back seat, might reveal further evidence relevant to the crime of arrest. See

Arizona v. Gant, 556 U.S. __, 129 S. Ct. 1710, 1719 (2009) (citing Thornton v. United States,

541 U.S. 615, 632 (2004)). Thus, a vehicle search incident to the arrest would be justified on the

evidence-preservation rationale of Thornton. See id. The critical inquiry, therefore, is whether

the officers had an objective rationale for at least a pat-down search of Williams, since even a

routine pat down would likely have uncovered the marijuana in his pocket.

       In its post-hearing memorandum, the government contends that a pat-down search of

Williams was justified by a concern for the officers’ safety, since the officers had, at a minimum,

a “reasonable suspicion” that Williams might be armed. See Terry v. Ohio, 392 U.S. 1, 20

(1968). He had just purchased a substantial amount of cocaine—or so the officers had been

told—and “cocaine trafficking [is] a crime infused with violence.” See United States v.




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Hernandez-Rivas, 348 F.3d 595, 599 (7th Cir. 2003) (quotation and citation omitted). So the

officers could have frisked Williams for weapons; in due course they would have found the

marijuana in his pocket and legally seized it as contraband. See id. (officer may seize non-

threatening contraband detected by sight or touch during weapons frisk). Then they could have

searched the vehicle incident to Williams’s arrest for possession of marijuana.

       If the officers had at least a reasonable suspicion that Williams had just purchased a

substantial amount of cocaine, they also had a legitimate basis for a weapons frisk; to that extent,

the government’s argument is correct. Indeed, the government can only establish an objective

rationale for a pat down or any other search by relying on DEA’s presumed information—that is

the obvious implication of Officer Simon’s failure to present a credible basis for “independent”

probable cause. Without relying on DEA’s information, the alleged seatbelt violation would not

even justify a pat-down search; a driver’s failure to wear a seatbelt is not enough to ground a

reasonable suspicion that he or she might be armed, and there are no other “articulable facts” in

the record that would ground any such suspicion. See Knowles, 525 U.S. at 118 (pat down

during stop for traffic citation subject to Terry requirements). The government is right back

where it started, before it solicited the machinations of the CPD.

       In both of its memoranda, the government relies on the so-called collective-knowledge or

common-knowledge doctrine to impute DEA’s alleged probable cause to Officers Simon and

Plewa. This doctrine allows officers to rely on probable cause or reasonable suspicion known to

other officers without personally knowing all the facts on which it is based. See, e.g., United

States v. Groves, 559 F.3d 637, 641 (7th Cir. 2009); United States v. Rodriguez, 831 F.2d 162,

165 (7th Cir. 1987) (based on surveillance and wiretaps, DEA had reasonable suspicion

defendant was a drug dealer and requested traffic stop by CPD on this basis). Thus, if DEA had




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probable cause or reasonable suspicion based on intercepted telephone calls and surveillance of

the North Monitor location on July 16, 2008, Officers Simon and Plewa could have acted on

Officer Gutierrez’s request and effected any search DEA’s information justified.

         The problem, however, is that Williams has not had an opportunity to respond to this

argument, as the government has only raised it in responsive memoranda. At the suppression

hearing, the government relied entirely on the validity of the traffic stop and subsequent sighting

of marijuana in plain view; it did not pursue the collective-knowledge argument or present any

admissible evidence in support of it.1 The government’s memoranda do refer to an extensive

affidavit by DEA Special Agent James C. Chupik, which was filed in support of the criminal

complaint in this case. The court therefore cannot conclude—at this point—that the government

has failed to carry its burden of showing that the evidence was legally obtained. See United

States v. Longmire, 761 F.2d 411, 416 (7th Cir. 1985) (where officer effects stop or search at

another’s request, burden is on government to “adduce proof” that requesting officer had

sufficient rationale for the action taken if defendant satisfies initial burden in motion to

suppress); see also United States v. Ienco, 182 F.3d 517, 528 (7th Cir. 1999) (once defendant

makes initial showing sufficient to warrant evidentiary hearing, burden shifts to the government

to show disputed evidence was legally obtained). Whether or not the government can carry that

burden on the basis of the evidence set forth in Agent Chupik’s affidavit is a question that

Williams should have a full and fair opportunity to address.

         To recapitulate: because the court does not credit Officer Simon’s account of the traffic

stop, the court finds that there was no probable cause to search the vehicle based on the alleged


1
  The government proffered transcripts of (translations of) intercepted telephone calls during Officer Gutierrez’s
testimony, but Officer Gutierrez had previously testified that he had not listened to any of those calls. In light of that
testimony, and after reviewing the transcripts, the court concluded that the government lacked a proper basis for
admitting them into evidence and declined to do so.


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seatbelt violation and subsequent sighting of marijuana in plain view. 2 If that were the

government’s only basis for probable cause, the evidence would be suppressed. But a final

ruling on the motion would be premature until Williams has had a chance to respond to the

government’s collective-knowledge argument based on its wiretap and surveillance evidence.

                                                 CONCLUSION

         For the foregoing reasons, the court grants Williams leave to respond to the government’s

argument that the officers had probable cause for the search that yielded the cocaine based on

DEA’s wiretap investigation and surveillance on July 16, 2008. Williams shall submit a written

memorandum within 10 days. The government shall have 7 days thereafter to respond. A final

ruling on the motion to suppress will issue accordingly.



Enter:

                                                       /s/ David H. Coar

                                                       _____________________________________

                                                       David H. Coar

                                                       United States District Judge

Dated: November 3, 2009




2
  The court notes that this finding is based on the illegality of the search under federal, not Illinois, law. The
analysis of Illinois law was relevant to the court’s determination of the credibility of Officer Simon’s testimony
rather than to the question whether Williams is entitled to suppression of the cocaine.


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